 Office of                                                                                    Nathaniel S. Boyer
 General Counsel                                                                              Counsel

 Eve Burton                  October 21, 2021
 Executive Vice President
 Chief Legal Officer
                             VIA CM/ECF
 Jonathan R. Donnellan
 Mark C. Redman              The Hon. Mark A. Roberts
 Vice President
 Co‐General Counsel          United States Magistrate Judge
                             U.S. District Court for the Northern District of Iowa
 Kenan J. Packman
 Maureen Walsh Sheehan       111 Seventh Avenue SE
 Ravi V. Sitwala             Cedar Rapids, IA 52401
 Jack Spizz
 Associate General Counsel
                             Re:    NuStar Farms, LLC et al. v. Lizza et al.,
 Carolene S. Eaddy                  Case No. 5:20-cv-04003-CJW-MAR
 Vice President
 Corporate Human Resources
                             Dear Judge Roberts:
 Adam Colón
 Travis P. Davis
 Monika Jedrzejowska                Jointly with Plaintiffs’ counsel, we write to submit a statement
 Suzanne Peters              regarding “any proposed new deadlines” for discovery and dispositive
 Jennifer G. Tancredi        motions in the NuStar case, as directed by the Court. See ECF No. 171.
 Senior Counsel
                             Defendants’ counsel has met and conferred with Plaintiffs’ counsel, who has
 Catherine A. Bostron        reviewed this letter and joins in its deadline requests.
 Corporate Secretary

 Sultan Barazi                       The parties respectfully request that the Court defer setting deadlines
 Liddy Barrow*               for dispositive motions or future discovery, if necessary, until after (i) the
 Nathaniel S. Boyer
 David Brioso                Court has ruled on Plaintiffs’ resisted motion for leave to file a third amended
 Michael A. Canencia         complaint (the “Motion to Amend”), and (ii) the Court of Appeals has issued
 James Coil                  its mandate in Devin G. Nunes v. Ryan Lizza, 8th Cir. No. 20-2710 (the
 Howard Davis
 Ignacio Diaz*               “Devin Nunes Appeal”).
 Vincent Floyd*
 Kerry A. Flynn
 Matthew Greenfield
                                     Although neither side wishes to delay the proceedings, the parties
 Diego Ibargüen              agree that it would promote efficiency and conserve judicial resources to
 Kate Mayer                  await the Court’s ruling on the Motion to Amend before taking further steps in
 Aimee Nisbet*
 Sarah S. Park               this case.1 Plaintiffs indicate they would seek additional discovery, if
 Christina Robinson          permitted to amend. While Defendants disagree with Plaintiffs on the effect
 Andrea S. Ryken
 Eva M. Saketkoo
 Jennifer Schanes            1
                                     Defendants note that Plaintiffs’ Motion to Amend seeks to expand
 Nina Shah
 Federica Tigani*            their defamation claims, add two new causes of action, and include a demand
 Kitty Yang*                 for punitive damages. Defendants will resist the motion, for reasons they will
 Stephen H. Yuhan            set forth in their upcoming resistance papers.
 Jim Zeng
 Counsel
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                                                                                              New York, NY 10019
                                                                                              T 212.649.2030
* Not admitted or                                                                             Nathaniel.Boyer@hearst.com
  resident in New York
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          Magistrate Judge Roberts
          October 21, 2021
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          of the proposed amendment on the discovery schedule, the Court’s ruling will
          inform the parties’ evaluations as to what if any additional discovery is
          necessary, and relatedly, the appropriate deadline for the filing of dispositive
          motions. Moreover, awaiting the Court’s ruling on the Motion to Amend will
          allow the parties to structure any additional discovery in a non-piecemeal
          manner.

                  Further, Plaintiffs’ Motion to Amend is, at least in part, predicated on
          the Court of Appeals’ ruling in the Devin Nunes Appeal. The Court of
          Appeals has not yet issued its mandate because, on October 13, 2021,
          Defendants petitioned the Court of Appeals for rehearing and rehearing en
          banc of its September 15, 2021 opinion. Insofar as this Court’s decision on
          the Motion to Amend will be guided by the ultimate disposition of the Devin
          Nunes Appeal, it would promote efficiency and conserve judicial resources to
          await issuance of the Court of Appeals’ mandate.

                  Two additional observations. First, pending before the Court at
          present are three motions, two of which are seeking additional discovery. See
          ECF Nos. 126, 147, 155 (the “Pending Motions”). A slight delay in re-setting
          deadlines may permit the parties to address any additional discovery sought
          by Plaintiffs concurrently with the discovery that results from the Court’s
          ruling on the Pending Motions.

                  Second, presently, the NuStar trial is set to begin on February 14,
          2022. See ECF No. 64. A dispositive motion deadline at least 150 days
          before that trial date, as required by the Local Rules, is no longer possible.
          The parties respectfully request that the NuStar trial date be continued sine
          die, to be re-set when the deadline for dispositive motions is re-set. The
          highly unusual procedural posture in which this case finds itself is
          “exceptional cause” for the continuance of the trial date. See ECF No. 64,
          Point III.

                  The parties thank the Court for its time, and for this opportunity to
          present our views on the scheduling and deadline questions we and the Court
          are facing.

                                                        Respectfully submitted,

                                                          /s/ Nathaniel S. Boyer
                                                             Nathaniel S. Boyer*
                                                        *Admitted pro hac vice
          cc: all counsel of record (by email)




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